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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-cr-00098-CMA-01

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 LEONARD LUTON,

        Defendant.



                             ORDER REGARDING
                 SELF-AUTHENTICATING, NON-HEARSAY EVIDENCE
               PURSUANT TO FED. Rs. EVID. 803(6), 902(11), and 902(13)



        Upon consideration of the unopposed Motion in Limine seeking a pre-trial ruling

 that certain records the government will seek to admit at trial are non-hearsay,

 self-authenticating evidence pursuant to Fed. Rs. Evid. 803(6), 902(11) and 902(13), it

 is hereby ORDERED that the authenticity of the records listed below have been

 established by the parties’ stipulation as non-hearsay, self-authenticating evidence. It is

 further ORDERED that, for those custodians of the records listed below who have

 received trial subpoenas from the government, such custodians are hereby released

 from their subpoena obligations to appear at the trial of this matter.

        The applicable non-hearsay, self-authenticating records to which this Order

 applies are as follows:




                                              1
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    Custodian                              Bates                Bates Range of Certified
                                           Number(s) of         Records
                                           Certified
                                           Declaration(s)

      Apple                                INV_1214             INV_1215-1216
                                           INV_2194             INV_1201 1
                                           SW_314               SW_315-318, 325 2

      Bank of America (Luton)              BOA_2                BOA_3-445
                                           BOA_446              BOA_447-455

      Bank of America (Wessam) 3          Forthcoming           Forthcoming


      Bank of Colorado                     BCO_2–BCO_3          BCO_4-69
                                           BCO_69.001           BCO_70-72
                                           BCO_73               INV_2385-2386

      Bank of Estes Park                   BEP_2                BEP_3-79;
                                           BEP_30
                                           BEP_77
                                                                INV_1760-1761
                                           INV_1759
      Cellebrite Image of Defendant        INV_2007-2009        Thumb Drive
      Luton’s Cellphone                                         #0000469


      CenturyLink                         INV_1529              CENT_1-131

      Citizens Bank                       CITZ_3                CITZ_4-24

      Discover                            INV_1249              INV_1253-1257

      FedEx                               FEDX_16               FEDX_2-15
                                          INV_1587              INV_1580-1586



1     INV_256 is a duplication of INV_1201.
2     SW_320-324 is a duplication of SW_315-318.
3     The government is awaiting certified records from this custodian, but will turn those
records over to the defense promptly upon their receipt. Subject to defense objection, this
Order shall apply to these forthcoming records.
                                            2
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    Flagstar Bank                     FLG_89          INV-2013-2087

                                                      FLG_1-88
    Google (Gmail)                    SW_306          SW_307-313 &
                                                      thumb drive provided on
                                                      9/24/19

    Grand River Bank                  GRB_3           GRB_4-22

    Hartford Federal Credit           INV_2647        INV_2305-2646
    Union

    Huntington National Bank          HNB_101         HNB_4-239


    Immigration & Customs             INV_2365        INV_2366-2382
    Enforcement Travel Records
    (Luton & Dobson)                  INV_2576-2577   INV_2578-2580
                                      INV_2581-2582   INV_2583-2593
    Immigration & Customs             A-FILE_1        A-FILE_2-172
    Enforcement A-File (Luton)


    Jackson National Life Insurance   INV_1531        JNLI_4-693


    JP Morgan Chase                   JPM_2           JPM_3-146

    KeyBank                           KEY_3           KEY_5-29

    Old National Bank                 INV_1527        ONB_1-7

    Peoples United Bank               INV_2684-2685   INV_2686-2715

    Premier Members Credit            PMCU_1          PMCU_2-145
    Union                             PMCU_216        PMCU_146-215




                                       3
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     TD Bank                               TDB_3–TDB_4       TDB_9-44

    T-Mobile                               SW_176            SW_177-186
                                           INV_1971          INV_1972-1981

    UPS                                    INV_1693          INV_1694-1700
                                           INV_1940          INV_1941-1955

    US Bank                                USB_2             USB_3-33

    US Bank NA (Fidelity)                  INV_1670          INV_1671-1683

    USPS                                   INV_2113-2115     INV_2116-2122
     Verizon                               INV_1528          VZN_1-11
     Western Union                                           WU_2 4
                                           WU_1
     Ymax Communications                   ORD_23-24         ORD_16-22



DATED this ____ day of ______________, 2020.



                                                           BY THE COURT:


                                      __________________________________
                                      The Honorable Christine M. Arguello
                                      United States District Court Judge




4     INV_1702 is a duplication of WU_2.
                                           4
